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                                  United States Bankruptcy Court
                                          Eastern District of New York
                                               290 Federal Plaza
                                            Central Islip, NY 11722

                         NOTICE OF ELECTRONIC FILING PROCEDURE
                   INFORMATION REGARDING MEETING OF CREDITORS
Case Name: Leonard E. Selanikio

Case Number: 8−16−74021−ast                    Date Filed: September 1, 2016

The above case was filed electronically, and is accessible via the Court's Internet site at
http://www.nyeb.uscourts.gov. In compliance with E.D.N.Y. LBR 9011−1(b) and the court's General Order on
Electronic Filing Procedures ("General Order #559"), whenever any applicable statute, rule or order requires a
document to be signed and the document is electronically filed, the document shall contain an electronic signature or
a scanned copy of the original signature. An electronic signature shall consist of "s/" followed by the first and last
name of the person signing. Security of a password issued to an attorney is the attorney's responsibility. An original
signed copy of all filings shall be maintained in the attorney's file in accordance with General Order #559.

All parties with legal representation must file documents by one of the following methods:

1. INTERNET (Preferred Method): The requirements for filing, viewing and retrieving case documents over the
Internet are: A personal computer running Microsoft Windows; an Internet provider using dial−up or broadband;
Mozilla Firefox or Internet Explorer; Adobe Acrobat to convert word processor formatted documents to portable
document format (PDF); and a document scanner. The URL address is www.nyeb.uscourts.gov. A password is
needed to file documents into this system. Please contact the Court to obtain a password. In addition, a Pacer login is
needed to view or print documents from this system. A Pacer login can be obtained by calling the Pacer Service
Center at 1−800−676−6856 or by visiting their website at http://pacer.psc.uscourts.gov.

2. DISKETTE or CD−ROM/DVD, PDF FORMAT: If you are not equipped or have not registered to file over the
Internet, you must submit your documents on a diskette or CD−ROM/DVD, in PDF format. Adobe Acrobat software
will provide you with the ability to create documents in PDF format; additionally, word processing programs such as
Microsoft Word include a built−in conversion utility. Use a separate flash drive or CD−ROM/DVD for each filing.
Submit the CD−ROM/DVD in an envelope with the case name, case number, type and title of the document, and the
file name on the flash drive diskette or CD−ROM/DVD.

Important Note: Proofs of claim may be filed over the Internet on CD−ROM/DVD, or in paper form.

Adversary Proceedings filed relative to cases assigned to the ECF system will also be assigned to the system.
Documents filed in such proceedings MUST comply with the foregoing electronic filing requirements.

In Chapter 7, 12 and 13 cases, the debtor is responsible for serving a copy of the petition on the trustee appointed in
the case. Refer to the Notice of Meeting of Creditors accompanying this notice for the name and mailing address of
the trustee.

In Chapter 11 cases, the debtor is responsible for serving a copy of the petition on the Internal Revenue Service and
the Securities and Exchange Commission. Refer to the second page of the Notice of Meeting of Creditors
accompanying this notice for their respective addresses.

Parties without legal representation may file documents in paper form, in accordance with procedures set forth in the
court's Local Rules.

Dated: September 1, 2016
                                               For the Court, Robert A. Gavin, Jr., Clerk of Court
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     NOTICE TO CHAPTER 7 DEBTORS AND DEBTORS' ATTORNEYS

What To Submit Prior To The Meeting Of Creditors
You must submit to the Chapter 7 Trustee assigned to your case the following:

1. A copy of the Chapter 7 petition (complete with all schedules and the statement of financial affairs) which bears a
copy of the Debtor's signature.

Note: The petition should not reflect the Debtor's signature as /s/.


2. Copies of all payment advices (i.e., pay stubs) or other evidence of payment received within 60 days before the
date of the filing of the petition by the Debtor from any employer of the Debtor. (See Bankruptcy Code §
521(a)(1)(iv))

Note: If such payment advices are not available or the Debtor does not have payment advices then the Debtor should
provide the Trustee and file with the Bankruptcy Court a notarized affidavit of the Debtor explaining the
circumstances.


3. A copy of the Federal income tax return (or a transcript of such return) for the most recent tax year ending
immediately before the commencement of the case and for which the Federal income tax return was filed.

Note: The tax return or transcript must be provided to the Chapter 7 Trustee no later than 7 days before the meeting
of creditors. (See Bankruptcy Code § 521(e)(2)(A)(i)) The tax return or transcript should NOT be filed with the
Bankruptcy Court.


The Chapter 7 Trustees request that this information be provided as soon as possible after the petition is filed. The
name and address of the assigned Chapter 7 Trustee appears on the meeting notice.

These requirements do not supersede or replace any of the requirements under the Bankruptcy Code, Bankruptcy
Rules and Local Bankruptcy Rules.



What to bring to the Meeting of Creditors
Each Chapter 7 Debtor should bring to the meeting of creditors: (a) original government issued photo identification
and (b) an original social security card or other original government issued document that reflects the Debtor's social
security number.




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